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AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                 Northern District of Texas-Dallas                            on the following
      G
      ✔ Trademarks or         G Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
      3:22-cv-00703-L                      3/25/2022                                     Northern District of Texas-Dallas
PLAINTIFF                                                                    DEFENDANT
 World Wrestling Entertainment, Inc.                                           Does and XYZ Corporations 1-100



        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1                                                                      Please see attached Exhibit A

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
 4/6/2022 Notice of Dismissal.




CLERK                                                        (BY) DEPUTY CLERK                                          DATE
Karen Mitchell                                                 s/Y. Lehnert                                                    4/6/2022

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy


         Print                        Save As...                                                                                   Reset
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                         EXHIBIT 1
          Case 3:22-cv-00703-L Document 14 Filed 04/06/22 Page 3 of 15 PageID 838
                        WWE TRADEMARKS PENDING/REGISTERED WITH
             THE UNITED STATES PATENT AND TRADEMARK OFFICE (“U.S. PTO”)


MARK                       REG/ SERIAL#(s)                        MARK           REG/ SERIAL#(s)

                           4,735,547; 4,731,795; 4,735,546;                      4,285,112
                           4,625,255; 4,727,923; 4,675,657;
                           4,538,209; 4,689,839; 4,689,835;
                           4,538,210; 4,614,144; 4,645,471;
                           4,552,144; 86/139,905; 97175305;
                           97175297

                           4,645,471                              WRESTLEMANIA   1,432,884; 1,863,534; 2,625,125;
                                                                                 2,881,508; 3,351,858; 3,351,859;
                                                                                 3,727,338; 3,727,339; 4,285,112;
         (Color Version)
                                                                                 86/456,620; 5094698

WWE                        2,772,683; 3,056,074; 3,541,936;                      3,960,447
                           4,451,697; 3,538,710; 3,489,357;
                           3,412,176; 3,412,177; 3,541,956;
                           3,621,017; 97175076; 97175056

WORLD WRESTLING            2,818,358; 2,772,677; 2,757,599;                      78/124,901
ENTERTAINMENT              2,754,499; 2,870,426; 2,902,203;
                           2,917,910; 3,585,170; 3,585,171

                           4,032,288; 77/930,230                                 3,042,792; 3,115,074; 3,473,626




                           4,687,331                                             2,968,039




                           3,691,5884,220,594                                    86/886,600

       (Color Version)

                           2,757,596; 2,754,495; 2,846,450;                      86/900,547; 86/900,564;
                           2,799,228; 2,751,436; 2,757,597;                      86/900,534; 86/900,716; 90199711
                           2,765,751; 2,751,437; 4,756,090;
                           3,412,169; 3,412,170; 97293258

                           86/670,933; 86/671,063                                1,574,169; 1,348,618



                           4,871,102                                             87/065,986




                                                              1
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MARK                REG/ SERIAL#(s)                           MARK               REG/ SERIAL#(s)

                    3,627,500; 3,755,039                                         4,123,178




                    4,593,423; 85/708,147                                        87102202




                    86/341,786; 86/348,537; 86/348,567;                          4,865,510
                    86/348,577



                    86/341,769; 86/341,802; 86/341,811;                          4,614,144
                    86/348,587




                    87/381,426                                                   88104920




                    3,720,155; 86/501,868; 86/501,883                            4,552,144




                    4,031,024                                                    3,894,082




                    86/704,224; 86/704,311; 86/704,296;                          3,935,104
                    86/704,322; 86/704,159




                                                          2
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MARK                     SERIAL #/ REG #                         MARK                     SERIAL #/ REG #
3:16                     5650355                                 BAD BLOOD                3,174,728; 3,199,302

619                      4,675,811                               BALOR CLUB               86/583,739

ACKNOWLEDGE ME           97328087                                BARON CORBIN             5312421

ADRIAN BUTLER            97120437                                BASH AT THE BEACH        90689255; 90689189; 90295890

AJ STYLES                78534101                                BATISTA                  3404371; 3119128

AKEEM YOUNG              90266072                                BATTLEBOWL               90295864

ALEAH JAMES              90281895                                BAYLEY                   5370753

ALEXA BLISS              5376243                                 BE A STAR                4,760,595; 86/899,213

ALICIA FOX               86/090,782                              BECKY LYNCH              5272107

ALIYAH                   88583566                                BE LIKE NO ONE           87/365,362; 87/365,023;
                                                                                          87/364,997; 87/364,994

ALPHA ACADEMY            97097399                                BELLA ARMY               90022707

AMERICAN ALPHA           86/855,122                              BELLA GLAM               97129864

AMERICAN WRESTLING       1,410,887                               BELLA STYLE              97129886; 90196826
ASSOCIATION

AMIR JORDAN              90229346                                BELLA TWINS              4,809,017

ANDRE CHASE              90769688                                BENDING THE RULES        4,388,467

ANDRE CHASE              97018903                                BETH PHOENIX             3,801,534
UNIVERSITY

ANGELO DAWKINS           88121033                                BEYOND THE RING          4,822,923; 86/170,564

AOIFE VALKYRIE           90229356                                BIANCE BELAIR            88585744

APEX PREDATOR            88822524                                BIG BOSS MAN             3,469,974

APOLLO NATION            86/721,632                              BIG E LANGSTON           4,841,827

ARMAGEDDON               2,807,405; 2,801,333                    BIG RED                  86/466,331

AS CLOSE AS IT GETS      97205361                                BIG TIME BECKS           97024008

ASUKA                    86/753,293                              BLAIR BALDWIN            97116454

A-KID                    90229228                                BLAST AREA               2,659,716

A-TRAIN                  3,419,749                               (THE) BLOODLINE          97266217

AUSTIN 3:16              2,313,120; 2,299,461; 2,299,462;        BOBBY LASHLEY            90661271
                         90339370; 90230582

AUSTIN THEORY            88945923                                BOBBY ROODE              87214988

AWA                      1,401,633; 4,863,983; 86/306,286;       BODHI HAYWARD            97118781
                         86/380,916; 86/943,682; 90898232

                                                             3
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MARK                    SERIAL #/ REG #                         MARK                    SERIAL #/ REG #
BACKLASH                2,642,926; 2,627,703; 2,771,710         BOOKER T                3,234,256; 3,230,536; 3,142,989

BOOTS TO ASSES          4,838,528                               CLASH OF CHAMPIONS      87067543; 87067524; 87067514

BOOTY O                 86/939,876; 86/939,871                  CLAYMORE COUNTRY        90873174

BRADSHAW                2,939,820                               CO-BRO                  4,675,801

BRAY WYATT              86/665,296                              COMMANDER AZEEZ         90627897

BREAKING GROUND         86/733,794                              COMPLAINING IS NOT      90833276; 90833375
                                                                CONVERSATION

BREEZANGO               88588780                                CONNOR’S CURE           86/903,969

BRENDAN VINK            88945951                                COREY GRAVES            88082155

BRIE BELLA              86/429,950                              CROWN JEWEL             88698596

BRING IT TO THE TABLE   87295086                                CRUISERWEIGHT CLASSIC   5,084,008; 87064203

BRITISH STRONG STYLE    88003965                                CRUSH CLOTHING          85/927,474; 85/927,428

BROCK LESNAR            86/925,032; 97220015                    CRUSH COUTURE           85/909,787

BRODOWN                 97005218                                CRUSH GEAR              85/921,244; 85/921,211

BRON BREAKKER           97024855                                CRUSH WEAR              85/921,201

BROOKLYN BARLOW         97299175                                CRYME TYME              86/724,841

BRUISERWEIGHT           5542111                                 CWC CAPITOL WRESTLING   90232711; 90232766
                                                                CENTER

BRUTUS CREED            90769749                                CYBERSLAM               88701189

BRYSON MONTANA          97168898                                CYBER SUNDAY            3,478,412

BUTCH                   97306140                                DALLAS IRVIN            97120412

CAMP WWE                86/579,889                              DAMON KEMP              97108730

CANDICE LERAE           88597687                                DAMIAN PRIEST           88596293

CARMELLA                87214280                                DANA BROOKE             87073846

CEDRIC ALEXANDER        87214286                                DAPHANIE LASHAUNN       97120385

CELTIC WARRIOR          4,863,926; 86/557,265                   DAVE MASTIFF            90235869

CENA                    86/664,519                              DAVID OTUNGA            3,930,734

CENATION                4,522,307; 4,471,264; 86/383,836;       (THE) DEADMAN           88820559
                        86/886,605

CHAD GABLE              5330832                                 DEAN AMBROSE            4,470,627; 90242424

CHARLIE DEMPSEY         90885301                                DECEMBER TO             3,402,365
                                                                DISMEMBER


                                                            4
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MARK                     SERIAL #/ REG #                        MARK                     SERIAL #/ REG #
CHARLOTTE                5272109                                DEMON KING               87138656; 5612403; 87138638

CHIP DANNING             97124784                               DEREK SANDERS            97120424

DEF REBEL                88917657; 88917733                     EDRIS ENOFE              97128082

D-GENERATION X           3,728,991                              ELIMINATION CHAMBER      3,878,682; 4,451,591; 4,194,955;
                                                                                         4,094,125; 86/030,095; 90619015

DIAMOND MINE             90435144                               ELIZA ALEXANDER          97287628

DIE FAMILIE              97125238                               EREBUS PICTURES          86/704,216; 86/704,254;
                                                                                         86/704,251; 86/704,269;
                                                                                         86/704,196

DILSHER SHANKY           90453216                               ERICA YAN                97104001

DIVAS OF DOOM            4,121,920                              E:SPIR                   90764662; 90764676; 90764690;
                                                                                         90764763; 90764774

DOINK THE CLOWN          1,994,733                              EST                      97328070

DOLPH ZIGGLER            3,923,812                              ETHEREAL SPIRIT          90764821; 90764866; 90764874;
                                                                                         90764889; 90764893

DOMINIK                  90253786                               EVA-LUTION               90687420

DOMINIK MYSTERIO         90207197                               EVA MARIE                86/925,623

DOUDROP                  90773292                               EVE TORRES               86/429,970

DRACO ANTHONY            97115314                               EVOLUTION                2,885,200

DREW GULAK               87214383; 90083185                     EVOLVE                   88558860

DREW MCINTYRE            3,933,603                              EXTREME CHAMPIONSHIP     3,614,190; 78/073,881
                                                                WRESTLING

DRIP STICK               90745251                               FALL BRAWL               88127610

DUKE’S POKER ROOM        97071352; 97071356                     FALLON HENLEY            97149282

DX                       3,413,432                              FATAL FOUR WAY           3,945,860; 3,959,206; 3,945,863;
                                                                                         4,313,379

EARN THE DAY             87229693; 90835383                     FCW                      3,592,664; 85/711,451; 85/895,236

EARN YOUR SCARS          90873071                               FEEL THE GLOW            88860386

EAT SLEEP BREAK THE      86/245,212                             FELIX FERNANDEZ          97116470
STREAK

EAT SLEEP CONQUER        97016445                               FINLAY                   3,697,421
REPEAT

ECW                      3,282,316; 2,462,643; 4,679,362;       FINN BALOR               4,899,322
                         97135514

ECW ONE NIGHT STAND      3,319,727; 3,446,487; 78/549,078       FIREFLY FUN HOUSE        88602436


                                                            5
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MARK                   SERIAL #/ REG #                           MARK                     SERIAL #/ REG #
ECW VIXENS             3,584,808                                 FLORIDA CHAMPIONSHIP     3,552,242; 3,727,374; 3,697,278
                                                                 WRESTLING

EDDIE GUERRERO         2,966,483; 3,159,940; 3,149,523           FOLLOW THAT MY FRIEND    88615754

EDGE                   4,430,403; 2,649,476; 77/940,892          FRIDAY NIGHT SMACKDOWN   3,301,799

FTMF                   88615737                                  HORNSWOGGLE              3,489,434; 3,658,547

FUNKADACTYLS           4,495,385                                 HUMBERTO CARRILLO        88585881

GARY WILSON            97116494                                  HUNTER HEARST            3,838,295
                                                                 HELMSLEY

GALLUS                 90095594                                  HUSTLE LOYALTY           3,937,302; 85/923,871;
                                                                 RESPECT                  85/923,831; 86/787,917

GLAMAZON               3,828,716                                 IKEMAN JIRO              90689680; 90690324

GLOBAL CRUISERWEIGHT   86/912,043                                IICONICS                 88585900
SERIES

GLOBAL LOCALIZATION    87867138                                  IJLA DRAGUNOV            90245465

GOLDEN TRUTH           87095709                                  IMMORTALS                4,905,922; 86/426,191

GOLDUST                2,129,106; 2,675,279                      IMMUNE TO FEAR           5662199

GORGEOUS GEORGE        77/758,976; 77/758,980; 86/846,807;       IMPERIUM                 90095551
                       86/846,818; 86/846,827; 86/912,904

GRAYSON WALLER         90762231                                  INDI HARTWELL            90091456

GREAT AMERICAN BASH    87897918                                  INDUS SHER               90095581

GURU RAAJ              90453198                                  IN YOUR HOUSE            3,381,509

GYV                    97097505                                  INTERCONTINENTAL         87091198
                                                                 CHAMPION

HALLOWEEN HAVOC        88127603                                  INTERCONTINENTAL         90046333
                                                                 CHAMPIONSHIP

HAPPY CORBIN           90794969                                  (THE) IRRESISTIBLE       87759868
                                                                 FORCE

HARD HITTING REALITY   86/665,408                                IT'S WAY OVER THE TOP    86/160,847

HARDCORE HEAVEN        88717460                                  IVY NILE                 97157286

HARDCORE HOLLY         3,118,011                                 JACKET TIME              97105308

HARLEM HEAT            88756306                                  JACK STARZ               90245529

HBK                    3,565,556                                 JAKARA JACKSON           97168875

HEAD OF THE TABLE      90774083                                  JAKKED                   4,867,443

HEAVY MACHINERY        88483568                                  JAMIE NOBLE              3,752,694


                                                             6
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MARK                   SERIAL #/ REG #                          MARK                     SERIAL #/ REG #
HELL IN A CELL         4,067,781; 4,074,565; 77/837,247;        JASON JORDAN             87/134,931
                       3,912,015; 4,158,177

HHH                    3,091,120; 3,034,385; 2,841,514          JAVIER BERNAL            97168880

HLR                    86/940,545                               JBL                      3,959,446

HOLEY FOLEY            5272160                                  JERRY "THE KING"         3,131,928
                                                                LAWLER

JEY USO                4,096,086                                LEGIT BOSS               90873043; 88602497

JIMMY USO              4,096,085                                LET ME IN                90647232

JINDER MAHAL           4,535,704                                LIV MORGAN               5880491

JINNY                  97150809                                 LOCKUP                   97308531

JOAQUIN WILDE          88596188                                 LO SHIRAI                88603639

JOEY GONZALEZ          97259928                                 LRLR                     88810861; 88810221

JOEY TOFINO            97124797                                 MACE                     90197901

JOHN CENA              2,957,043; 3,169,452; 3,074,517;         MANDY ROSE               88073313
                       3,088,504; 86/787,877; 86/787,885;
                       86/787,899

JOSH BRIGGS            90769729                                 MANIA                    86/557,373

JOSHUA BRUNS           90455142                                 MANKIND                  3,848,186

JUDGMENT DAY           2,686,549; 2,621,441; 2,700,343;         MANSOOR                  90448467
                       4,056,805

JULIUS CREED           90769735                                 MARCEL BARTHEL           88618182

JUST BRING IT          86/424,758                               MARK ANDREWS             90254866

KANE                   2,635,378; 3,261,934; 3,042,739          MARK HENRY               3,752,693

KAYFABE                85/553,175                               MARQUEE CLASSICS         97076911; 97076929

KELLY KELLY            3,658,650                                MARQUIS HAMILTON         97116483

KELLY KINCAID          97253176                                 MARYSE                   87061776

KEVIN OWENS            86/434,333                               MATT RIDDLE              88585638

KING OF KINGS          3,584,739; 78/802,596                    MILA MALANI              97124714

KING OF STRONG STYLE   5661830                                  MIZ & MRS.               87759981

KING OF THE RING       87119716; 87119708                       MONEY IN THE BANK        3,532,434; 3,949,008; 3,949,010;
                                                                                         3,949,009; 4,358,310; 3,945,864

KNUCKLEHEAD            4,168,294; 4,168,293                     MONTEL VONTAVIOUS        3,731,900
                                                                PORTER

KOFI KINGSTON          3,720,955                                MONTEZ FORD              88121037

                                                            7
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MARK                    SERIAL #/ REG #                        MARK                   SERIAL #/ REG #
LACEY EVANS             88483352                               MOONSAULT              97308522

LASH LEGEND             97018892                               MOUSTACHE MOUNTAIN     90873111

LASSKICKER              90606758                               MR. MCMAHON            3,048,616; 3,419,750

LAST OUTLAW             86/569,613                             MR. PERFECT            2,003,188

LEFT RIGHT LEFT RIGHT   90450960; 88810852; 88810208           MSK                    90446466

LEGEND KILLER           90326771                               MUSTAFA ALI            5525827

MVP                     3,525,024                              NXT ROOKIE             3,945,854

NAKITA                  90769720                               NXT: ARRIVAL           86/189,367; 86/189,609;
                                                                                      86/189,267

NAOMI                   86/429,964                             NXT TAKEOVER           86/261,560; 86/806,888

NATALYA                 86/086,127                             NXT TAKEOVER STAND &   90563322; 90555077
                                                               DELIVER

NATHAN FRAZER           90694067                               ODYSSEY JONES          97157278

NEVER GIVE UP           4,777,712                              OLYMPE MARGAUX         97124768

NEVER GIVE UP BY JOHN   85/927,376                             OMOS                   90448489
CENA

NEW YEARS REVOLUTION    3,298,836                              ONE NIGHT STAND        3,785,401; 3,785,402

NEXT IN LINE            97151530                               OTIS DOZOVIC           88121042

NIGHT OF CHAMPIONS      3,589,378; 3,747,410; 3,925,939;       OVER THE LIMIT         3,949,006; 3,949,007; 4,361,681;
                        3,747,411                                                     3,945,862

NIKKI-ASH               90805922                               PAIGE                  86/422,215

NIKKI A.S.H.            90795024                               PAUL HEYMAN            97077332

NIKKI BELLA             86/429,958                             PETE DUNNE             90083198

NIKKI CROSS             87397307                               (THE) PHENOM           88820565

NIKKITA LYONS           97168864                               PHENOMENAL ONE         88132568

NOAM DAR                87214298                               PIPER NIVEN            97157266

NOBODY’S BITCH          90707326                               PROJECT ROCK           87671569

NO FLIPS JUST FISTS     88807503                               QUEEN ZELINA           97097419

NO MERCY                2,757,508; 2,803,552; 4,616,254;       QUEENS CROWN           90907310
                        90629922                               TOURNAMENT

NO WAY OUT              2,453,023; 2,625,121; 4,388,956        QUINCY ELLIOTT         97149292

NVRGVUP                 2,341,582; 3,176,335                   RAELYN DIVINE          97168889
                        2,120,098; 2,120,099
NWO                     87941495; 87941516                     RANDY ORTON            2,957,044; 3,059,530; 3,059,531;

                                                           8
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MARK                   SERIAL #/ REG #                          MARK                   SERIAL #/ REG #
                                                                                       3,059,535
                       2,972,641; 2,993,019; 4,875,586
NWO NEW WORLD ORDER    88126592                                 RAW                    2,396,746; 2,086,903; 4,125,983;
                                                                                       4,804,352; 86/610,604; 87562709

NXT                    3,854,998; 77/918,577; 86/220,806;       RAW ACTIVE             85/626,795
                       86/220,794; 86/220,779; 90907430

NXT LEVEL UP           97260436                                 RAW TALK               87220699

NXT LVL UP             97264600                                 REDNECK RECKIN'        86/533,507
                                                                COMPANY

                                                                REGGIE                 90885522

REGINALD               90713949                                 SCRAPP METEL           97122458

RETRIBUTION            90092873                                 SCRAPP METTAL          97122280; 97122296; 97122264

REY MYSTERIO           2,972,939; 3,124,385; 3,209,567          SETH ROLLINS           4,841,810; 86/763,866; 86/808,287

RHEA RIPLEY            88624585                                 SHANE MCMAHON          3,130,690

RICK BOOGS             90723430                                 SHAWN MICHAELS         3,130,643; 3,412,626; 3,230,534

RIDDICK MOSS           90606735                                 SHAYNA BASZLER         88078001

RIDGE HOLLAND          90271601                                 SHEAMUS                3,892,393; 86/886,576

RIKISHI                2,807,414                                SHELTON BENJAMIN       3,127,655

RIP 'EM                4,580,634                                SHINSUKE NAKAMURA      5257271

RISE ABOVE CANCER      86/742,929; 86/742,923                   SHORTY G               88514067

RISE ABOVE HATE        86/825,619                               SHOTZI BLACKHEART      90120790

RK-BRO                 97097434                                 SHOW UP AND WIN        90146972

RKO                    88360584                                 SIN CARA               4,440,573; 4,485,548; 4,471,255;
                                                                                       4,384,485; 90268750; 90268780

ROB VAN DAM            3,276,175                                SISTER ABIGAIL         88914239

ROCKPOCALYPSE          4,760,711                                SKULL KING             86/359,823; 86/359,826;
                                                                                       86/360,594; 97150631; 90554150

ROMAN REIGNS           4,614,890; 86/819,169; 86/819,175        SLAMMY                 2,267,980

ROYAL RUMBLE           4,002,779; 3,845,745; 1,972,560;         SLAYOMI                86/392,334
                       1,930,440; 2,681,135; 2,618,355;
                       97282240

R-TRUTH                3,720,963                                SOFIA CROMWELL         97135509

RU FENG                97082313                                 SONYA DEVILLE          88073321

RUTHLESS AGGRESSION    88792515                                 SOUTHPAW REGIONAL      87851250
                                                                WRESTLING

SAMI ZAYN              86/626,272                               SMACKDOWN              2,941,520; 2,928,460; 4,052,024;

                                                            9
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MARK                    SERIAL #/ REG #                         MARK                     SERIAL #/ REG #
                                                                                         4,672,593

SANGA                   97233696                                SMACKDOWN VS. RAW        3,909,934

SANTOS ESCOBAR          90103964                                SMACKDOWN YOUR VOTE      2,625,262

SASHA BANKS             86/925,636                              SMACKADILLAS             97310298

SATURDAY NIGHT'S MAIN   3,832,577; 90106818; 90106802           SOLID GOLD               87094930
EVENT

SCOTTISH WARRIOR        90544228                                SOLO SIKOA               97066216

SCRAP METTAL            97122310                                STACK DOWN               86/011,478

SCRAP METEL             97122324                                STARRCADE                88117085

STARDUST                86/422,199                              TEXAS RATTLESNAKE        88785493

STEPHANIE MCMAHON       3,130,691; 3,450,782                    THE AUTHORITY            86/528,551

STONE COLD              3,684,739; 77/291,491                   THE AWESOME ONE          88132537

STONE COLD STEVE        3,659,657                               THE BASH                 4,071,009
AUSTIN

STREET PROFITS          88588747                                THE BIG DOG              90325113

STUN THE WORLD          90873180                                THE BIGGEST PARTY OF     3,321,550
                                                                THE SUMMER

SUBCULTURE              90566025                                THE BOOGEYMAN            86/569,583

SUDU SHAH               97231310                                THE FIEND                88855620

SUMMERSLAM              1,884,646; 4,748,785; 2,702,648;        THE GAME                 2,858,755; 86/704,206; 90242325
                        4,052,025; 4,052,026

SUNDAY NIGHT HEAT       2,363,921                               THE GODDESS              97227616

SUPERBRAWL              97227581                                THE GOLD STANDARD        3,712,662

SUPERSTAR INK           86/813,724                              THE GREAT AMERICAN       2,109,152; 2,194,671
                                                                BASH

SUPERSTORE AXXESS       97257431                                THE GREAT KHALI          3,420,447

SUPLEX CITY             86/581,713                              THE HERO IN ALL OF US    87304757

SURVIVOR SERIES         1,860,719; 1,563,878; 3,013,724;        THE HEARTBREAK KID       3,568,362
                        3,985,965; 77/061,038

SWERVED                 86/579,887                              THE HUNT                 90100127

SYMBIOSIS               90563195                                THE HURRICANE            2,681,342

T-BAR                   90197897                                THE HURT BUSINESS        90081119

TABLE FOR 3             86/813,736                              THE IRRESISTIBLE FORCE   88588434

TABOO TUESDAY           3,194,947                               THE MAN                  90872224; 90872783; 90872980;

                                                           10
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MARK                     SERIAL #/ REG #                           MARK                     SERIAL #/ REG #
                                                                                            90049207; 90049313

TAKEOFF TO TAKEOVER      90184900                                  THE MIZ                  86/001,322

TAKEOVER VENGEANCE       90501525                                  THE MONDAY NIGHT WAR     4,572,755

TAMINA SNUKA             86/087,198                                THE NEW DAY              4,896,325; 86/901,772; 86/901,785

TATUM PAXLEY             97266851                                  THEN NOW FOREVER         90279368

TAZZ                     77/288,329                                THEN NOW TOGETHER        90639455; 90639471; 90639485;
                                                                   FOREVER                  90639530; 90639556

TEAM BRING IT            86/818,377                                THE PHENOM               88627584

TED DIBIASE              3,809,219                                 THE QUEEN                97227631

TENSAI                   4,782,305

THERE’S NEVER A BAD      90704403; 90704418                        TRIBUTE TO THE TROOPS    3,641,851
TIME TO HAVE A GOOD
TIME

THE ROCK                 2,514,522; 2,633,988; 2,572,837;          TRIPLE H                 2,780,659; 3,003,874; 2,991,990;
                         2,572,838; 86/781,167; 86/788,029;                                 2,991,991
                         86/806,967; 86/806,924

THE ROCK JUST BRING IT   87270318                                  TRIPLE THREAT            2,768,658

THE SUPLEX-ORCIST        97065470; 97065489; 97065497;             TYLER BATE               87429937
                         97065505

THE UNDERTAKER           1,755,782                                 TYLER BREEZE             86/836,541

THE WAY                  90300189                                  TYSON KIDD               4,130,719

THE WWE EXPERIENCE       3,442,191                                 TYSON T-BONE             90279158

THE WWE LIST             86/813,745                                ULTIMATE WARRIOR         86/883,984; 86/884,027;
                                                                                            86/884,011; 86/883,994;
                                                                                            86/883,968

THEODORE LONG            4,651,210                                 UMAGA                    3,420,413

TITANTRON                4,084,430                                 UNCENSORED               97227561

TITUS O'NEIL             86/087,187                                UNDERTAKER               1,771,405; 1,771,513; 1,755,482;
                                                                                            2,327,493; 1,980,341; 4,744,469;
                                                                                            86/421,791; 97087750

TLC: TABLES, LADDERS &   4,088,347; 4,164,913; 3,875,573;          UNFORGIVEN               2,576,331; 2,666,552; 2,525,314
CHAIRS                   4,459,369

TOMMASO CIAMPA           87540049                                  UUDD                     88516623

TOO BIG FOR JUST ONE     88843855; 88841894                        (THE) USOS               88752584
NIGHT

TOO HOT FOR TV           86/813,705                                VEER                     90688347

TONY D’ANGELO            97014609                                  VEER MAHAAN              97103052

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MARK                    SERIAL #/ REG #                           MARK                  SERIAL #/ REG #
TONY GILL               90455158                                  VENGEANCE             2,978,955; 4,094,162

TOP ROPE                4,019,774                                 VIKING RAIDERS        88483330

TORRIE WILSON           78/403,211                                VINCE MCMAHON         3,303,304

TOTAL BELLAS            88624537; 88624548; 88624528              VIPER                 3,938,019

TOTAL DIVAS             4,696,548; 4,902,232; 85/910,206;         VISCERA               3,525,023
                        85/910,202; 85/910,201; 85/910,200

TOUGH ENOUGH            2,757,458; 4,063,650; 4,580,405;          VON WAGNER            97097484
                        4,023,271; 86/611,330; 86/611,338;
                        97147920

TOXIC ATTRACTION        97097463                                  WALK WITH ELIAS       88103132

TRIBAL CHIEF            97328107                                  WALTER                88583585

WAR GAMES               88698651                                  WWE MAIN EVENT        90242352

WARRIOR                 2,299,387                                 WWE NETWORK           4,632,692; 4,614,127; 4,768,910;
                                                                                        4,621,480

WCW                     3,735,299; 2,964,395; 3,139,777;          WWE NXT               4,115,464; 3,945,846; 85/932,497;
                        3,502,189; 85/896,161; 90594471                                 86/030,958

WCW MONDAY NITRO        88127146                                  WWE PAYBACK           4,744,095; 4,914,063; 85/860,084

WCCW                    88134527                                  WWE PRIORITY PASS     97282992

WENDY CHOO              97124728                                  WWE RIDE ALONG        86/842,720

WILL CHARLTON           97124750                                  WWE RIVALRIES         86/297,911

WORD LIFE               3,209,593; 78/434,926                     WWE ROADBLOCK         86/921,626; 86/923,814;
                                                                                        86/923,825

WORLD CHAMPIONSHIP      88127170                                  WWE SATURDAY          4,495,592; 85/700,345;
WRESTLING                                                         MORNING SLAM          85/696,472; 85/696,481

WORLD CLASS             90795004                                  WWE SLAM CITY         4,773,383; 4,594,083; 4,657,055;
CHAMPIONSHIP                                                                            85/960,513; 85/960,457
WRESTLING

WRECK EVERYONE &        90873007                                  WWE SLAM SHOT         85/836,836
LEAVE

WRESTLEFEST             85/498,360                                WWE SPOTLIGHT         85/674,269; 85/671,711;
                                                                                        85/671,360

WRESTLEMANIA REWIND     4,780,778                                 WWE STUDIOS           3,778,837

WRESTLEMANIACS          86/517,906                                WWE SUNDAY STUNNER    97251619

WRESTLEMANIART          3,712,674                                 WWE SUPERCHARGE       86/090,725

WRESTLE WAR             90023023                                  WWE SUPERSTARS        3,871,019; 77/626,294;
                                                                                        86/030,985; 86/030,989;
                                                                                        86/030,995

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MARK                  SERIAL #/ REG #                      MARK                     SERIAL #/ REG #
WWE ACTIVE            85/764,201; 85/790,729               WWE TALKING SMACK        87123129

WWE ALL STARS         4,046,290                            WWE THE BUILD TO         97158687

WWE AUTHENTIC WEAR    4,045,760                            WWE THE BUMP             88617524

WW BASICS             3,931,181                            WWE THE HERO IN ALL OF   86/541,526
                                                           US

WWE BRAWL             90898251                             WWE THUNDERDOME          90115405; 90115585; 90115405

WWE DAY 1             90891238; 90891249; 90891270;        WWE TOUGH TALK           86/813,731
                      90891281

WWE EVIL              97017139                             WWE UNFILTERED           86/813,712

WWE EXTREME RULES     90898257                             WWE UNIVERSE             3,854,270; 3,778,789; 90898246

WWE LIVEWIRE          90242241                             XAVIER WOODS             5272105

XIA LI                88603631                             YOU CAN'T SEE ME         3,331,242

XYON QUINN            97150818                             YULISA LEON              97108531

YES MOVEMENT          86/189,952                           ZELINA VEGA              88483540




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